Case 1:24-cv-00648-AA   Document 23-43   Filed 06/20/24   Page 1 of 2




                        EXHIBIT 48
                     Re: URGENT: KIDNAPPING EVA JULIETTE PARIS - EMERGENCY HEARING 22DR17285 EXHIBIT 48
               Case 1:24-cv-00648-AA         Document 23-43        Filed 06/20/24      Page 2 of 2

         Subject: Re: URGENT: KIDNAPPING EVA JULIETTE PARIS - EMERGENCY HEARING 22DR17285
         From: Arnaud Paris <aparis@sysmicfilms.com>
         Date: 23/04/2024, 21:16
         To: 'Tricia M. Allen" <Tricia.M.Allen@ojd.state.or.us>
         CC: Heidi Paris <heidimparis@gmail.com>, David.J.Orr@ojd.state.or.us

         Miss Allen, my motion and request for emergency hearing was delivered to the court this
         morning at 11.37am.

         Here is the proof of delivery by Fedex:

         httgs:LLwww.fedex.comLfedextrackL?trknbr=816152048820
         Please advise on when we could set the phone conference with Judge Orr on that urgent
         kidnapping matter of the children from France in the middle of the school year by Miss Brown.

         Regards,

         Arnaud Paris
         On 22/04/2024 21:53, Arnaud Paris wrote:
          Hello Miss Allen,
          I'd like to set an emergency hearing with Judge Orr as Miss Brown just abducted the kids
          from France and violated two French judgments on French soil in full force and effect
          putting the kids through a traumatic illegal escape from France to the US and she is now
          hiding in Oregon without any direct communication with the children so we have no
          information about what's going on.
          I've sent this emergency motion today also requiring this emergency hearing, see attached.
          As you will see in this Motion, Miss Brown just lied to a French judge in Paris she was in
          front of a fei,1 days before doing the abduction of the children, saying that she i,1ould never
          violate the French judgment as it would make her lose what she obtained from Judge Orr in
          the Jackson Court. And she just kidnapped the kids ....
          I think this needs to be heard urgently by Judge Orr as this is changing the entire case
          noi,1.
          Please let me know if we can organize a conference today or tomorrow in emergency.
          Regards,
          Arnaud Paris




                                             EXHIBIT 48 - PAGE 1 OF 1
1 of 1                                                                                              19/06/2024, 22:01
